 Case:
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     4:20-cv-00165-ALM        00515714533
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                   United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
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                                                             NEW ORLEANS, LA 70130

                             January 21, 2021

MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

      No. 20-40578      Hammervold v. Blank
                        USDC No. 4:20-CV-165

The court has granted an extension of time to and including March
15, 2021 for filing brief of appellees/respondents David Blank and
Diamond Consortium, Incorporated in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk


                                   By: _________________________
                                   Rebecca L. Leto, Deputy Clerk
                                   504-310-7703
Mrs. Katherine Elrich
Mr. Mark Hammervold
Mr. David O'Toole
Ms. Carrie Johnson Phaneuf
Mr. Shawn W. Phelan
Ms. Elizabeth Lee Thompson
